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 7
                                   IN THE UNITED STATES DISTRICT COURT
 8
                                      EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                            CASE NO. 1:11-CR-00113-AWI-BAM
11
                                    Plaintiff,            PRELIMINARY ORDER OF FORFEITURE
12
     v.
13
     CHIU CHUEN LAU,
14
                                    Defendants.
15

16
               Based upon the plea agreement entered into between United States of America and defendant
17
     Chiu Chuen Lau, it is hereby ORDERED, ADJUDGED AND DECREED as follows:
18
               1.     Pursuant to 21 U.S.C. § 853, defendant Chiu Chuen Lau’s interest in the following
19
     property shall be condemned and forfeited to the United States of America, to be disposed of according
20
     to law:
21
                      a. Bennelli pump action 12 gauge shotgun;
22
                      b. Wnchester model 140 12 gauge shotgun;
23
                      c. Mossberg model 817 .17 caliber rifle;
24
                      d. Marlin .22 caliber rifle;
25
                      e. Kimber custom II .45 ACP pistol;
26
                      f. All ammunition and magazines.
27

28             2.     The above-listed asset constitutes property involved in the commission of a violation of


      PRELIMINARY ORDER OF FORFEITURE                      1
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 1 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2.
 2          3.      Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be authorized to

 3 seize the above-listed property. The aforementioned property shall be seized and held by the United

 4 States Marshals Service and/or the Drug Enforcement Administration, in its secure custody and

 5 control.

 6          4.      a. Pursuant to 21 U.S.C. § 853(n) and Local Rule 171, the United States shall publish

 7 notice of the order of forfeiture. Notice of this Order and notice of the Attorney General’s (or a

 8 designee’s) intent to dispose of the property in such manner as the Attorney General may direct shall

 9 be posted for at least 30 consecutive days on the official internet government forfeiture site

10 www.forfeiture.gov. The United States may also, to the extent practicable, provide direct written

11 notice to any person known to have alleged an interest in the property that is the subject of the order of

12 forfeiture as a substitute for published notice as to those persons so notified.

13                  b. This notice shall state that any person, other than the defendant, asserting a legal

14 interest in the above-listed property, must file a petition with the Court within sixty (60) days from the

15 first day of publication of the Notice of Forfeiture posted on the official government forfeiture site, or

16 within thirty (30) days from receipt of direct written notice, whichever is earlier.

17          5.      If a petition is timely filed, upon adjudication of all third-party interests, if any, this

18 Court will enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853, in which all interests will be

19 addressed.

20          6.      The government, in its discretion, shall conduct discovery, including written discovery,

21 the taking of depositions, and the issuance of subpoenas, in order to identify, locate or dispose of

22 property subject to forfeiture in accordance with Rule 32.2(b)(3) of the Federal Rules of Criminal

23 Procedure.

24
     IT IS SO ORDERED.
25

26 Dated: May 30, 2014
                                                   SENIOR DISTRICT JUDGE
27

28


      PRELIMINARY ORDER OF FORFEITURE                       2
